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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 PABLO STAR LTD., et al.,

                        Plaintiffs,

                 v.
                                                       Civil Action No. 15-CV-1167-JPO
 THE WELSH GOVERNMENT, et al.,

                        Defendants.

             NOTICE OF APPEAL BY DEFENDANT WELSH GOVERNMENT

          Notice is hereby given that defendant Welsh Government hereby appeals to the U.S.

Court of Appeals for the Second Circuit from the District Court’s Opinion and Order entered in

this case on March 29, 2019 (Dkt. No. 125), denying the Welsh Government's motion to dismiss

based on the Foreign Sovereign Immunities Act, and from all interlocutory orders inextricably

intertwined with or necessary to ensure meaningful review of the immediately appealable issue.

Dated: April 29, 2019                              Respectfully submitted,

                                                   /s/ Richard J. Oparil
Of Counsel:                                        Richard J. Oparil (RO9269)
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(202) 517-6322 (fax)                               Welsh Government




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                                  CERTIFICATE OF SERVICE

          The foregoing notice of appeal served on counsel of record on April 29, 2019 through the

Court's ECF system.

                                              /s/ Richard J. Oparil
                                              Richard J. Oparil




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